Case 2:17-cr-00221-CJB-DMD Document 15-1

Filed 11/17/17 Page1of1

PER 18 U.S.C. 3170

DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - . TRICT 4 |
+ SOP TELT EYED 4
CASE NO.

BY: [J INFORMATION [y¥] INDICTMENT

Matter Sealed: [| Juvenile C Other than Juvenile
[_] Defendant Added

Cl Charges/Counts Added

Ol Pre-Indictment Plea C] Superseding

CL Indictment
Information

Name of District Court, and/or Judge/Magistrate Location (City)

EASTERN

Divisional Office
Donna V. Knight

[x]u.s. atty [other u.s. Agency
Phone No. (504) 680-3000

UNITED STATES DISTRICT COURT
DISTRICT OF LOUISIANA

Name and Office of Person
Furnishing Information on
THIS FORM

Name of Asst.
U.S. Attorney
(if assigned)

Jeffrey Sandman

PROCEEDING

Name of Complainant Agency, or Person (& Title, if any)

H.S.I.

[| person is awaiting trial in another Federal or State Court
(give name of court)

USA vs.

Defendant: AMIN SULUKI

Address:

SECT. J MAG. 3

[ Interpreter Required Dialect:

Birth 4981 [Z] Male [] Alien
Date L] Female (if applicable)
_xx- 0821
Social Security Number 200
DEFENDANT

this person/proceeding transferred from another district
per (circle one) FRCrP 20, 21 or 40. Show District

O

this is a reprosecution of charges
previously dismissed which were
dismissed on motion of:

Clu-s. atty [1] Defense

O

SHOW
[_] this prosecution relates to a DOCKET NO.
pending case involving this same
defendant. (Notice of Related
Case must still be filed with the
Clerk.)
v1 . : MAG. JUDGE
prior proceedings or appearance(s) CASE NO
before U.S. Magistrate Judge .
regarding this defendant were
recorded under 17-147

Place of
offense |

Jefferson Parish

County

[| Warrant Summons

Location Status:
11/14/2017

Issue:

Arrest Date or Date Transferred to Federal Custody

ly] Currently in Federal Custody

L] Currently in State Custody
CL] Writ Required

C Currently on bond
[] Fugitive

Defense Counsel (if any): ©@'Y V. Schwabe, Jr.

FPD [ ] CJA L] RET'D
CL] Appointed on Target Letter

L | This report amends AO 257 previously submitted

| OFFENSE CHARGED - U.S.C. CITATION - STATUTORY MAXIMUM PENALTIES - ADDITIONAL INFORMATION OR COMMENTS

Total # of Counts 1 (for this defendant only)

Title & Section/~
(Petty = 1 / Misdemeanor = 3 / Felony = 4)

Offense
Level (1, 3, 4)

Description of Offense Charged Count(s)

4 21: 841(a)(1), 21:841(b)(1)(A), 21:846

Conspire to possess with intent to distribute cocaine hydrochloride] 1

